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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
____________________________________
JOHN BARNHARDT, et al.,              )
                                     )
            Plaintiffs,              )
                                     )
      and                            )
                                     )
UNITED STATES OF AMERICA,            )    Civil Action No. 4:65-cv-01300-HTW-LRA
                                     )    1300(E)
            Plaintiff-Intervenor,    )
                                     )
      v.                             )
                                     )
MERIDIAN MUNICIPAL SEPARATE          )
SCHOOL DISTRICT, et al.,             )
                                     )
            Defendants.              )
____________________________________)

                            DECLARATION OF JOHN S. CUSICK

JOHN S. CUSICK declares, pursuant to 28 U.S.C. § 1746, as follows:

       1.      I am over the age of 18 years old and competent to make this declaration. I am an

attorney with the NAACP Legal Defense & Educational Fund, Inc. (“LDF”), am admitted to

practice law in all of the courts of the State of New York and have been admitted to appear as

counsel Pro Hac Vice for Private Plaintiffs John Barnhardt, et al., (collectively “Plaintiffs”) in the

above-captioned matter. I submit this declaration on behalf of Plaintiffs to provide the Court true

and correct copies of certain documents submitted in connection with Private Plaintiffs’ Reply in

Support of the Motion of the Motion to Re-Depose an Unprepared 30(b)(6) Witness.

       2.      A true and correct copy of email correspondence between Louis Fisher et al., LDF,

Counsel for Plaintiffs, and John Hooks et al., Counsel for Defendant Meridian Public School

District (“District”), dated November 21, 2018, is attached hereto as Exhibit 1.
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       3.      A true and correct copy of an email and attachment from Jaime Dole, on behalf of

Counsel for District, to Louis Fisher et al., LDF, Counsel for Plaintiffs, and Aria Vaughn et al.,

Counsel for Plaintiff-Intervenor the United States, dated November 16, 2018, is attached hereto as

Exhibit 2.


Dated: November 28, 2018

                                                 /s/ John S. Cusick
                                                 John S. Cusick
                                                 NAACP Legal Defense and
                                                    Educational Fund, Inc.
                                                 40 Rector Street, 5th Floor
                                                 New York, New York 10006
                                                 Tel: (212) 965-2200
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